     Case: 1:19-cv-05770 Document #: 159 Filed: 08/30/21 Page 1 of 3 PageID #:1860




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DISTRICT

JP MORGAN CHASE BANK, NATIONAL     )
ASSOCIATION,                       )
                                   )
                       Plaintiff,  )
                                   )
           v.                      )                         Case No. 1:19-CV-05770
                                   )
ROBERT KOWALSKI, AKA ROBERT M.     )
KOWALSKI; UNKNOWN OWNERS AND       )
NON-RECORD CLAIMANTS; CHICAGO      )                        1512 W. Polk Street
TITLE LAND TRUST COMPANY s/i/i TO  )                        Chicago, IL 60607
BRIDGEVIEW BANK GROUP FKA          )
BRIDGEVIEW BANK AND TRUST COMPANY, )
AS TRUSTEE UNDER TRUST AGREEMENT   )
DATED APRIL 24, 1993 AND KNOWN AS  )
TRUST NUMBER 1-2228; MARTHA        )
PADILLA; FEDERAL DEPOSIT INSURANCE )
CORPORATION, AS RECEIVER FOR       )
WASHINGTON FEDERAL BANK FOR        )
SAVINGS,                           )
                                   )
                       Defendants. )

                        JOINT STATUS REPORT ON DISCOVERY

        The parties hereby jointly submit this Status Report on Discovery pursuant to Court Order.

(See Dkt. 153).

A.      PROGRESS ON DISCOVERY

        1.     Plaintiff JPMorgan Chase Bank, N.A., Defendant Federal Deposit Insurance

Corporation, as Receiver for Washington Federal Bank for Savings and Defendant Martha Padilla

continue to issue and respond to written discovery requests and subpoenas pursuant to the

discovery schedule and deadline for completion of fact discovery by September 30, 2021.

        2.     The remote deposition of Defendant Martha Padilla is noticed for September 21,

2021.
     Case: 1:19-cv-05770 Document #: 159 Filed: 08/30/21 Page 2 of 3 PageID #:1861




        3.     Discovery remains stayed as to Third-Party Defendant First Midwest Bank. (See

Dkt. 141.)

B.      PROGRESS ON SETTLEMENT DISCUSSIONS.

        There has not been any significant progress on settlement since the settlement conference

on May 13, 2021.

C.      ANY OTHER ISSUES TO REPORT TO THE COURT.

        First Midwest Bank’s Motion to Dismiss Padilla’s First Amended Third-Party Complaint

is now fully briefed.


               SUBMITTED JOINTLY AND BY AGREEMENT OF THE PARTIES:


 Date: August 30, 2021

 PLAINTIFF JPMORGAN CHASE BANK, DEFENDANT FEDERAL DEPOSIT
 NATIONAL ASSOCIATION           INSURANCE CORPORATION,
                                AS RECEIVER FOR WASHINGTON
                                FEDERAL BANK FOR SAVINGS

 /s/ Shana A. Shifrin                               /s/ Jordana E. Thomadsen
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                                                2
  Case: 1:19-cv-05770 Document #: 159 Filed: 08/30/21 Page 3 of 3 PageID #:1862




DEFENDANT MARTHA PADILLA                   THIRD-PARTY DEFENDANT FIRST
                                           MIDWEST BANK

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